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              RALPH MERCADO,                       :          CIVIL A7ION

                   Petitioner,

              V.


              UNITED STATES OF AMERICA,
                                                              NO. CV208-163
                   Respondent.                                (NO. CR295-6)



                                            ORDER


                   On September 24, 2009, Magistrate Judge James E. Graham

              entered a report and recommendation suggesting dismissal of

              Petitioner's case. Judge Graham concluded that Mercado's

              filing was untimely if construed as a motion pursuant to 28

              U.S.C. 2255, and that Federal Rule of Civil Procedure 60(b)

              did not afford Mercado any relief in his underlying criminal

              case. Presently before the Court are Mercado's objections

              to the report and recommendation.

                   After an independent review of Mercado's objections to

              the Magistrate Judge's findings, the Court concurs with the

              Magistrate Judge's suggested disposition of the case and

              hereby ADOPTS the report and recommendation as the order of




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              the Court. Petitoner's objections are OVERRULED. Dkt. No.

              29. The Clerk shall enter judgment accordingly.

                  SO ORDERED, this 13th day of October, 2009.




                                          JUDGE, UNITE STATES DISTRICT COURT
                                          SOUTHERN DISIFRICT OF GEORGIA




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